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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


CASA, INC. et al.,

              Plaintiffs,

       v.
                                              Case No.: 8:25-cv-00201-DLB
DONALD J. TRUMP et al.,                       Honorable Deborah L. Boardman

              Defendants.




 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR A
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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                                          INTRODUCTION

       United States citizenship is a most cherished status. It signifies the citizen’s full

membership in our country’s political, social, and civic community and guarantees the citizen

numerous opportunities, rights, privileges, and benefits. From the Founding to today, citizenship

has been the birthright of virtually everyone born in the United States, regardless of the citizenship

or immigration status of their parents.

       Birthright citizenship in the United States derives from the ancient common-law principle

of jus soli, or “right of the soil.” The Supreme Court’s Dred Scott decision constituted a short-

lived and much-reviled departure from that common-law heritage. To ensure that birthright

citizenship would never again be denied to a disfavored group—that Dred Scott would never again

the be law—the framers of the Fourteenth Amendment enshrined it into the Constitution using

unmistakable language: “All persons born . . . in the United States, and subject to the jurisdiction

thereof, are citizens of the United States.” An unbroken line of Supreme Court precedent dating

back more than a century acknowledges that this constitutional guarantee applies to children born

in the United States regardless of whether their parents are citizens. See United States v. Wong Kim

Ark, 169 U.S. 649, 693 (1898). Congress has reaffirmed this understanding by codifying (and re-

enacting) birthright citizenship into statutory law over the generations. 8 U.S.C. § 1401(a).

       President Trump’s Executive Order “Protecting the Meaning and Value of American

Citizenship” defies the clear command of the Fourteenth Amendment’s Citizenship Clause and 8

U.S.C. § 1401(a), representing an unprecedented break from the promise of birthright citizenship

to all children born on our soil. The Executive Order denies birthright citizenship to babies born

in the United States “(1) when that person’s mother was unlawfully present in the United States


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and the person’s father was not a United States citizen or lawful permanent resident at the time of

said person’s birth, or (2) when that person’s mother’s presence in the United States was lawful

but temporary, and the person’s father was not a United States citizen or lawful permanent resident

at the time of said person’s birth.” Order § 2(a). The Executive Order calls into doubt the

citizenship of babies born in the United States and sows chaos and fear in families yearning for

the opportunities, rights, privileges, and benefits that accompany United States citizenship.

       Absent an injunction, the effect of the Executive Order will be widespread, immediate, and

severe. Every single day, babies are born in the United States who, absent an injunction, will have

a cloud placed over their status as United States citizens. Denied their citizenship, these children

may be left with no legal status, and no right to remain in their country of birth. These children

will be left unable to apply for Social Security numbers or passports and will be denied access to

all of the benefits that federal, state, and local governments provide to United States citizens. Those

harms will affect not only those babies but their entire families.

       Individual Plaintiffs each reside in the United States, are expecting a child in the next few

months, and are in immigration statuses that appear to be covered by the Executive Order.

Plaintiffs ASAP and CASA have hundreds of thousands of immigrant members across the United

States, including thousands of members who fall into the immigration categories covered by the

Executive Order (collectively, “Members”). Those Members give birth to children in the United

States every day. According to the Constitution, these children are U.S. citizens, but according to

the Executive Order, they have no legal status whatsoever. Individual Plaintiffs and Members

across the country now must face the uncertainty and psychological toll of knowing that the U.S.

government has stated that it will not recognize their children’s status as U.S. citizens, nor respect

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the rights that accrue to their children by virtue of that citizenship. Parents of these children will

have their families’ lives thrown into chaos and distress, uncertain if their children will be rendered

deportable or stateless. Denied access to essential services and benefits of citizenship, parents will

be forced to reorganize their families’ lives to survive in the United States and seek alternative

means of support, subsistence, and education. Parents will face these new challenges because of

the Executive Order while also experiencing extreme distress at the potential discrimination their

newborn children may now suffer without the protections of citizenship.

       The Constitution’s clear textual command, centuries of history, and binding Supreme Court

precedent all compel one conclusion: the Executive Order is flagrantly unconstitutional and must

be enjoined. Plaintiffs are likely to prevail on their challenge to the Executive Order, which is

inflicting immediate and irreparable harm on newborns and their families across the United States,

including Individual Plaintiffs and Members. The Court should immediately halt Defendants’

intrusion on one of the most precious constitutional rights.

                                         BACKGROUND

       On January 20, 2025, President Trump issued an Executive Order titled, “Protecting the

Meaning and Value of American Citizenship.” 1 The order purports to reinterpret the Fourteenth

Amendment as not extending birthright citizenship to babies “born in the United States: (1) when

that person’s mother was unlawfully present in the United States and the father was not a United

States citizen or lawful permanent resident at the time of said person’s birth, or (2) when that

person’s mother’s presence in the United States at the time of said person’s birth was lawful but



1
 Available at www.whitehouse.gov/presidential-actions/2025/01/protecting-the-meaning-and-
value-of-american-citizenship.
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temporary (such as, but not limited to, visiting the United States under the auspices of the Visa

Waiver Program or visiting on a student, work, or tourist visa) and the father was not a United

States citizen or lawful permanent resident at the time of said person’s birth.” Order § 1. The

Executive Order directs that “no department or agency of the United States government shall issue

documents recognizing United States citizenship, or accept documents issued by State, local, or

other governments or authorities purporting to recognize United States citizenship, to persons”

falling into those two categories. Id. § 2(a). The Order states that this directive to agencies “shall

apply only to persons who are born within the United States after 30 days from the date of this

order.” Id. § 2(b). The Order directs agencies to issue guidance on implementation during that 30-

day window. Id. § 3. Notably, however, the Order does not mention any delay in the effect of its

declaration in Section 1 that covered children are not citizens, suggesting that the Order’s

purported denial of citizenship may take immediate effect.

       Individual Plaintiffs are Maribel, Juana, Trinidad Garcia, Monica, and Liza. Compl. ¶¶ 45–

49. All five Individual Plaintiffs are pregnant women residing in the United States. They fear that

the Executive Order will be applied to deprive their children of the citizenship to which they are

entitled under the Fourteenth Amendment. Plaintiffs CASA and ASAP are immigrant-rights

organizations with hundreds of thousands of members. Compl. ¶¶ 19, 31. This includes thousands

of immigrant members who fall into the categories of parents covered by the Executive Order and

who are likely to give birth to a child in the United States in the near future. Id. Indeed, ASAP

estimates that more than 20 of its members give birth to children in the United States each day.

ASAP Decl. ¶ 24. The Executive Order purports to deny many of these newborn children their




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constitutionally guaranteed citizenship status, placing them at risk for removal and cutting off their

access to government benefits that are available to citizen children.

                                       LEGAL STANDARD

         “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); League of Women Voters of N.C. v. North Carolina,

769 F.3d 224, 236 (4th Cir. 2014). “The standards for granting a TRO and granting a preliminary

injunction are the same.” ClearOne Advantage, LLC v. Kersen, 710 F. Supp. 3d 425, 431 (D. Md.

2024).

                                            ARGUMENT

  I.     Plaintiffs are Likely to Succeed on the Merits of their Claims.

         A.     The Executive Order Violates the Fourteenth Amendment and 8 U.S.C.
                § 1401(a).

         The Executive Order violates the Fourteenth Amendment’s Citizenship Clause, which

provides: “All persons born or naturalized in the United States, and subject to the jurisdiction

thereof, are citizens of the United States and of the State wherein they reside.” U.S. Const. amend.

XIV. The Executive Order also violates 8 U.S.C. § 1401(a), which likewise provides that “a person

born in the United States, and subject to the jurisdiction thereof” is a “national[] and citizen[] of

the United States at birth.” Under the original understanding of these provisions, informed by the

ancient common-law principle of jus soli, children born to noncitizen parents within the United

States are citizens. This Court has authority to enjoin actions by the Executive Branch that violate

the Constitution or a federal statute. See, e.g., Trump v. Hawaii, 585 U.S. 667 (2018); Chamber of

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Commerce v. Reich, 74 F.3d 1322, 1327–28 (D.C. Cir. 1996). Because the Executive Order does

just that, it should be enjoined.

        “Throughout this country’s history, the fundamental legal principle governing citizenship

has been that birth within the territorial limits of the United States confers United States

citizenship.” Walter Dellinger, Legislation Denying Citizenship at Birth to Certain Children Born

in the United States, 19 Op. O.L.C. 340, 340 (1995) (Statement Before the Subcommittees on

Immigration and Claims and on the Constitution of the House Committee on the Judiciary). Even

before the adoption of the Fourteenth Amendment, the Constitution incorporated this common-

law principle of jus soli, or the “right of the soil.” The Framers referred to citizenship in prescribing

the qualifications for holding public office, including the Office of the President, but included no

definition of citizenship. See. e.g., U.S. Const. art. II, § 1, cl. 5 (“No Person except a natural born

Citizen, or a Citizen of the United States, at the time of the Adoption of this Constitution, shall be

eligible to the Office of President.”). It was well understood at the time of the Founding that, by

not defining citizenship, the Framers intended for the common law to govern.

        The “roots” of this common law tradition “lie deep in England’s medieval past.” Polly J.

Price, Natural Law and Birthright Citizenship in Calvin’s Case (1608), 9 Yale J.L. & Humans. 73,

73 (1997); see Calvin v. Smith, 77 Eng. Rep. 377 (K.B. 1608) (holding that after unification of the

Scottish and English crowns, children born in Scotland owing allegiance to the King and under the

King’s protection became English citizens by birth). As the Supreme Court later explained, in

surveying the common-law history, “by the law of England for the last three centuries, beginning

before the settlement of this country, and continuing to the present day, aliens, while residing in

the dominions possessed by the crown of England, were within the allegiance, the obedience, the

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faith or loyalty, the protection, the power, and the jurisdiction of the English sovereign; and

therefore every child born in England of alien parents was a natural-born subject.” United States

v. Wong Kim Ark, 169 U.S. 649, 658 (1898). There were only two exceptions to this common law

rule, for children born to “an ambassador or other diplomatic agent of a foreign state” and for

children born to “an alien enemy in hostile occupation of the place where the child was born.” Id.

Because those children did not owe allegiance to the King, they were not considered the King’s

subjects, despite their presence within his domain. But all other children born within the King’s

protection were citizens from birth. See 1 Blackstone’s Commentaries on the Laws of England 357

(1st ed. 1765) (“Natural allegiance is such as is due from all men born within the king’s dominions

immediately upon their birth. For, immediately upon their birth, they are under the king’s

protection; at a time too, when (during their infancy) they are incapable of protecting

themselves.”).

       In the early years of the Republic, the Supreme Court repeatedly assumed that the common

law conferred U.S. citizenship on all people born within the territory of the United States,

regardless of their parents’ immigration status. E.g., Murray v. The Schooner Charming Betsy, 6

U.S. (2 Cranch) 64, 119–20 (1804) (presuming that all persons born in the United States were

citizens thereof); McCreery v. Somerville, 22 U.S. (9 Wheat.) 354, 354 (1824) (assuming, in

determining title to land in Maryland, that children born in the state to noncitizen parents were

“native born citizens of the United States”). It is thus “beyond doubt that,” even before ratification

of the Fourteenth Amendment, “all white persons, at least, born within the sovereignty of the

United States, whether children of citizens or of foreigners, excepting only children of




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ambassadors or public ministers of a foreign government, were native-born citizens of the United

States.” Wong Kim Ark, 169 U.S. at 674–75.

        The Supreme Court’s departure from that bedrock principle of birthright citizenship in

Dred Scott v. Sandford, 60 U.S. (19 How.) 393 (1857), helped spark the Civil War and ultimately

led to the Fourteenth Amendment. In that ignominious decision, the Court denied citizenship to

African-Americans born in the United States. But following the Civil War, Congress enacted the

Civil Rights Act of 1866, and Congress and the States adopted the Fourteenth Amendment,

overruling Dred Scott and reasserting the principle of birthright citizenship. See Act of Apr. 9,

1866, ch. 31, 14 Stat. 27; U.S. Const. amend XIV, § 1. Speaking in support of the Civil Rights

Act, the Chairman of the House Judiciary Committee explained that the Act would codify

birthright citizenship as described by influential legal theorist William Rawle: “Every person born

within the United States, its Territories, or districts, whether the parents are citizens or aliens, is a

natural-born citizen in the sense of the Constitution, and entitled to all the rights and privileges

appertaining to that capacity.” Cong. Globe, 39th Cong., 1st Sess. 1117 (1866) (quoting William

Rawle, A View of the Constitution of the United States of America 80 (1829)). The Fourteenth

Amendment’s Citizenship Clause ensured that birthright citizenship would not be selectively given

to some people born in the United States and denied to others, but instead would serve as a

guarantee for all. Dred Scott would never again be the law.

        In the more than 150 years since then, the Supreme Court has consistently recognized that

the Fourteenth Amendment, along with parallel statutory provisions, guarantees citizenship to

children born in the United States to noncitizen parents. In Wong Kim Ark, the Supreme Court held

that a child born in San Francisco to noncitizen parents became a citizen of the United States at

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birth, by virtue of the Fourteenth Amendment. As the Court explained, through the Fourteenth

Amendment, “the fundamental principle of citizenship by birth within the dominion was

reaffirmed in the most explicit and comprehensive terms.” Wong Kim Ark, 169 U.S. at 675.

       To obtain birthright citizenship under the Fourteenth Amendment, a child simply must be

“born in the United States, and subject to the jurisdiction thereof.” U.S. Const. XIV, § 1. In Wong

Kim Ark, the Supreme Court held that the Citizenship Clause’s qualification that the child must be

“subject to the jurisdiction” of the United States was intended merely “to exclude, by the fewest

and fittest words,” the existing common law exceptions to birthright citizenship for “children born

of alien enemies in hostile occupation” and “children of diplomatic representatives of a foreign

state.” Id. at 682. In keeping with those common law exceptions, the Court further excluded from

the reach of birthright citizenship children born aboard foreign ships in U.S. waters and children

born to Indian tribes, given that those classes of people, under the law of that time, fell within the

power of a separate sovereign. But the Court emphasized that the Amendment’s qualifying

language “was not intended to impose any new restrictions upon citizenship, or to prevent any

persons from becoming citizens by the fact of birth within the United States, who would thereby

have become citizens according to the law existing before its adoption.” Id. at 676. The Fourteenth

Amendment is “declaratory in form, and enabling and extending in effect.” Id.

       Aside from those narrow historical exceptions, the Court reasoned, the Amendment “in

clear words and in manifest intent, includes the children born within the territory of the United

States, of all other persons, of whatever race or color, domiciled within the United States.” Id. at

693. Children born to noncitizen parents within the United States were thus subject to this Nation’s

jurisdiction and entitled to birthright citizenship. In reaching that conclusion, the Court drew an

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analogy between the Citizenship Clause’s reference to people “subject to the jurisdiction thereof”

and the Equal Protection Clause’s reference to people “within its jurisdiction.” U.S. Const. amend.

XIV, § 1. According to the Court, “[i]t is impossible . . . to hold that persons ‘within the

jurisdiction’ of one of the States of the Union are not ‘subject to the jurisdiction of the United

States.’” See Wong Kim Ark, 169 U.S. at 687. That is because people physically present within a

State must necessarily submit to the rule of U.S. law. The Wong Kim Ark Court therefore held that

“[e]very citizen or subject of another country, while domiciled here, is within the allegiance and

the protection, and consequently subject to the jurisdiction, of the United States.” Id.; see also

James C. Ho, Defining “American,” 9 Green Bag 2d 359, 360 (2006) (“To be ‘subject to the

jurisdiction’ of the U.S. is simply to be subject to the authority of the U.S. government,” and “[t]he

phrase thus covers the vast majority of persons within our borders who are required to obey U.S.

laws,” which, “of course, does not turn on immigration status, national allegiance, or past

compliance.”); Michael D. Ramsey, Originalism and Birthright Citizenship, 109 Geo. L. J. 405,

472 (2020) (“[T]he Clause’s original meaning provides a definite solution to contested modern

issues… [T]he original meaning indicates that the Clause does not exclude U.S.-born children of

temporary visitors or of persons not lawfully present in the United States.”).

       Numerous Supreme Court decisions have either reiterated or applied this understanding of

Fourteenth Amendment “jurisdiction,” further entrenching the rule that people born in the United

States to noncitizen parents attain citizenship at birth. In several instances, the Court has explicitly

stated that children of undocumented immigrants are birthright citizens. For instance, in

Hirabayashi v. United States, 320 U.S. 81, 96 (1943), the Court observed that tens of thousands

of Americans of Japanese descent were “citizens because born in the United States.” No further

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refinement—no detailed inquiry into familial immigration histories—was necessary to

substantiate that claim. In United States ex rel. Hintopoulos v. Shaughnessy, 353 U.S. 72, 73

(1957), the Court said that a child born in the United States was “an American citizen by birth,”

despite his parents’ “illegal presence.” And even though both sets of respondents in INS v. Errico,

385 U.S. 214, 215–16 (1966), had obtained admission through fraud, the Court acknowledged that

their native-born children became U.S. citizens at birth. INS v. Rios-Pineda, 471 U.S. 444, 446

(1985), similarly involved alien parents whose child became “a citizen of this country” at birth,

even though they had “enter[ed] . . . without inspection.”

       The principle that “one born in the United States” becomes “a citizen of the United States

by virtue of the jus soli embodied in the [Fourteenth] Amendment” pervades Supreme Court

precedent. Weedin v. Chin Bow, 274 U.S. 657, 670 (1927); see also, e.g., Ah How v. United States,

193 U.S. 65, 65 (1904); Zartarian v. Billings, 204 U.S. 170, 173 (1907); Morrison v. California,

291 U.S. 82, 85 (1934); Perkins v. Elg, 307 U.S. 325, 328–29 (1939); Kawakita v. United States,

343 U.S. 717, 720 (1952); Nishikawa v. Dulles, 356 U.S. 129, 131 (1958); Rogers v. Bellei, 401

U.S. 815, 829–30 (1971); Vance v. Terrazas, 444 U.S. 252, 255 (1980); Miller v. Albright, 523

U.S. 420, 424 (1998) (plurality); Hamdi v. Rumsfeld, 542 U.S. 507, 510 (2004) (plurality). The

Fourth Circuit also has operated on this understanding of the Fourteenth Amendment. See United

States v. Carvalho, 742 F.2d 146, 148 (4th Cir. 1984) (describing a child born to removable aliens

as “a United States citizen by virtue of her birth in the United States”); Herrera v. Finan, 709 F.

App’x 741, 743 (4th Cir. 2017) (explaining that the plaintiff “was born in the United States and,

thus, is a United States citizen”). The precedent of other circuits is to the same effect. E.g., Perkins

v. Elg, 99 F.2d 408, 411 (D.C. Cir. 1938) (“[I]t may now be stated as an established rule that every

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person born within the United States (except in the case of children of ambassadors, etc.), whether

born of parents who are themselves citizens of the United States or of foreign parents, is a citizen

of the United States.”). The Executive Order’s abrupt departure from this settled understanding is

not only invalid, but it throws into chaos the countless policies and practices built around the

fundamental assumption that any child born in the United States is a United States citizen. See

Compl. ¶¶ 98–99.

       The Supreme Court’s Equal Protection precedent subsequent to Wong Kim Ark further

bolsters this understanding of the Fourteenth Amendment’s Citizenship Clause. Most significantly,

in Plyler v. Doe, 457 U.S. 202, 215 (1982), the Court invoked Wong Kim Ark’s reasoning in

holding that undocumented aliens are “within [the] jurisdiction” of any state in which they are

physically present. “That a person’s initial entry into a State, or into the United States, was

unlawful . . . cannot negate the simple fact of his presence within the State’s territorial perimeter.”

Id. “Given such presence,” the Court explained, “he is subject to the full range of obligations

imposed by the State’s civil and criminal laws.” Id. In short, “no plausible distinction with respect

to Fourteenth Amendment ‘jurisdiction’ can be drawn between resident aliens whose entry into

the United States was lawful, and resident aliens whose entry was unlawful.” Id. at 211 n.10 (citing

C. Bouvé, Exclusion and Expulsion of Aliens in the United States 425–427 (1912)).

       Congress has likewise reaffirmed birthright citizenship. 8 U.S.C. § 1401(a) provides that

“a person born in the United States, and subject to the jurisdiction thereof” is a “national[] and

citizen[] of the United States at birth.” That statutory provision carries forward the 1866 Civil

Rights Act’s guarantee of birthright citizenship, which has been repeatedly re-enacted against the

backdrop of Wong Kim Ark’s understanding of jus soli.

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       Children born to Members covered by the Executive Order are thus entitled to citizenship

under the Fourteenth Amendment and 8 U.S.C. § 1401(a). Those children will be born in the

United States. And they will be subject to this Nation’s jurisdiction because their parents are

neither foreign ministers or diplomats, nor serving aboard a foreign ship, nor soldiers in an

occupying army. 2 See Wong Kim Ark, 169 U.S. at 693. Plaintiffs are therefore likely to succeed on

their claim that, by denying those children the citizenship to which they are entitled, the Executive

Order is unlawful under the Constitution and federal law.

       B.      Plaintiffs Have Standing.

       To demonstrate standing, a plaintiff must show “(i) that she has suffered or likely will

suffer an injury in fact, (ii) that the injury likely was caused or will be caused by the defendant,

and (iii) that the injury likely would be redressed by the requested judicial relief.” FDA v. All. for

Hippocratic Med., 602 U.S. 367, 380 (2024); Deal v. Mercer Cnty. Bd. of Educ., 911 F.3d 183,

187 (4th Cir. 2018). “To establish injury in fact, a plaintiff must show that he or she suffered an

invasion of a legally protected interest that is concrete and particularized and actual or imminent,

not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (internal

quotation marks omitted).

       CASA and ASAP assert standing as representatives of their members. Both ASAP and

CASA are voluntary organizations, whose members freely affiliate themselves with the groups.

ASAP Decl. ¶¶ 10–21; CASA Decl. ¶¶ 5–7. Members are issued cards and IDs to indicate their

affiliation, regularly communicate with the organizations, and set the organizations’ agendas and



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 Wong Kim Ark’s fourth exception, for Indian children, has been superseded by statute. See Act
of June 2, 1924, ch. 233, 43 Stat. 253 (current version at 8 U.S.C. § 1401(b)).
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priorities. ASAP Decl. ¶¶ 10–21; CASA Decl. ¶¶ 5–7. In order for a voluntary membership

organization to establish standing as representative of its membership, it “must demonstrate that

(a) its members would otherwise have standing to sue in their own right; (b) the interests it seeks

to protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.” Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023) (internal

quotation marks omitted). So long as one plaintiff has standing to seek each form of relief

requested in the complaint, the court need not consider whether other plaintiffs also have standing.

Carolina Youth Action Project v. Wilson, 60 F.4th 770, 778 (4th Cir. 2023).

       Individual Plaintiffs, as well as Members of CASA and ASAP, are harmed by the

Executive Order. Individual Plaintiffs reside in the United States, are pregnant, and their children

will be deprived of citizenship under the Executive Order. Both organizations likewise have many

Members who currently reside in the United States, who plan to have children while living in this

country, and who are covered by the Executive Order. CASA Decl. ¶ 14; ASAP Decl. ¶¶ 22–26.

Some are already pregnant. CASA Decl. ¶ 14; ASAP Decl. ¶¶ 25, 36. The Executive Order will

deprive those children, once born, of their constitutionally guaranteed United States citizenship.

The parents of children who are denied citizenship will also suffer immediate and direct harm. See

Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) (explaining

that, for purposes of associational standing, “members of Parents Involved can validly claim”

Article III injury “on behalf of their children”).

       “Citizenship is a most precious right,” Kennedy v. Mendoza-Martinez, 372 U.S. 144, 159

(1963), and interference with a constitutional right undoubtedly creates an Article III injury,

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TransUnion LLC v. Ramirez, 594 U.S. 413, 425 (2021). The Executive Order’s threat to newborns’

citizenship would deny them “the priceless benefits that derive from that status.” Schneiderman v.

United States, 320 U.S. 118, 122 (1943). For example, although citizens enjoy an unqualified right

to remain in their homeland, children denied citizenship may have no legal status in this country.

Immediately upon birth, they will face the threat of deportation to a strange land, as noncitizens

possess no constitutional right against removal. See Harisiades v. Shaughnessy, 342 U.S. 580, 587

(1952). This risk of deportation threatens to tear families apart. For many immigrant families, some

family members are legally allowed to remain in the United States, and older siblings are citizens,

but under the Executive Order, newborn children will not be citizens and will not have a right to

remain. See also Trump v. Hawaii, 585 U.S. 667, 698 (2018) (“[A] person’s interest in being united

with his relatives is sufficiently concrete and particularized to form the basis of an Article III injury

in fact.”).

        Worse yet, without U.S. citizenship, many of these U.S.-born children will be unable to

obtain citizenship in any country, leaving them stateless, forever having their very existence

subject to the mercy of whatever nation in which they find themselves. Statelessness is “a condition

deplored in the international community of democracies.” Trop v. Dulles, 356 U.S. 86, 101 (1958)

(plurality). Without a homeland, a stateless person’s “very existence is at the sufferance of the

country in which he happens to find himself.” Id. at 101.

        The Executive Order also cuts off newborns’ access to various government benefits on

which many families rely, inflicting another concrete injury. Citizen children are eligible to receive

public benefits through a variety of programs, such as the Supplemental Nutrition Assistance

Program (“SNAP”), Temporary Assistance for Needy Families (“TANF”), the Children’s Health

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Insurance Program (“CHIP”), and Medicaid. CASA Decl. ¶¶ 16–24. By denying citizenship to

newborn children, the Executive Order also denies them access to all of the government benefits

citizens enjoy. That is undoubtedly an injury in fact. Czyzewski v. Jevic Holding Corp., 580 U.S.

451, 464 (2017) (losing “a small amount of money”—and even losing a “chance” at such funds—

“is ordinarily an ‘injury’”); accord, e.g., Kadel v. Folwell, 100 F.4th 122, 141 n.15 (4th Cir. 2024)

(holding that a plaintiff challenging ineligibility for a government benefit need not submit a claim

“to show standing” where the relevant law “explicitly excludes” those in the plaintiff’s position).

       All of those harms inflicted by the Executive Order will affect not only newborn children

but their entire families, including Individual Plaintiffs and Members. Parents will experience the

fear and uncertainty that accompany their children being deprived of legal status in this country—

status to which they are entitled under the Constitution. Juana Decl. ¶ 6; Trinidad Garcia Decl.

¶ 11; CASA Decl. ¶¶ 24–29; ASAP Decl. ¶¶ 27–35; see also, e.g., id. ¶ 44 (ASAP member

Nohelimar explaining her fears for her son if he is denied birthright citizenship); id. ¶ 42 (ASAP

member Lesly expressing her concern about the lack of opportunities her child will have in this

country without birthright citizenship). And the Executive Order’s discrimination threatens to tear

families apart, with newborn babies having no legal status in this country even if their older

siblings are citizens and their parents have a legal right to remain in the United States. See Maribel

Decl. ¶ 6; ASAP Decl. ¶ 41 (ASAP member Nivida explaining that she fears her child would face

violence and persecution if denied citizenship and then removed from the United States). Parents

also worry about the opportunities that their children will be denied in this country if they are not

citizens, including educational and employment opportunities. Juana Decl. ¶ 7; Liza Decl. ¶ 6.

Parents’ settled expectations about their children’s status will be thrown into chaos, and they will

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need to seek additional immigration counsel and expend resources in order to help navigate serious

travel restrictions that apply unevenly to their families, prevent their U.S.-born infants from being

deported, and protect stateless children. See Monica Decl. ¶ 9 (expressing concern that her child

will become stateless); Liza Decl. ¶ 4 (same); ASAP Decl. ¶ 38 (same for ASAP member Niurka).

       These injuries are the direct result of Defendants’ actions and would be redressed by

judicial relief. There is a clear “causal connection” between the Executive Order and the injuries

that Members have incurred and will continue to incur. Lujan v. Defs. of Wildlife, 504 U.S. 555,

560 (1992). Absent the Executive Order, Members would not face uncertainty as to their children’s

legal status, nor would their households be ineligible for the array of government benefits for which

they plan to apply. The harms at issue here were “caused directly” by the Executive Order, and a

“favorable decision” for Plaintiffs would provide “full redress.” Cooksey v. Futrell, 721 F.3d 226,

238 (4th Cir. 2013).

       CASA and ASAP satisfy the remaining requirements for associational standing. The

interests at stake in this lawsuit are undoubtedly “germane” to each organization’s “purpose.” Hunt

v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 344 (1977); see Kravitz v. U.S. Dep’t of

Commerce, 366 F. Supp. 3d 681, 741 (D. Md. 2019) (“[A]n interest is germane to an organization’s

purpose if the lawsuit would reasonably tend to further the general interests that individual

members sought to vindicate in joining the association and . . . bears a reasonable connection to

the association’s knowledge and experience.” (internal quotation marks omitted)). A core part of

the mission of both CASA and ASAP is to promote the stability and well-being of immigrant

families—a mission fundamentally undermined by the Executive Order, which sows uncertainty

among immigrant families, subjects them to the threat of family separation, and denies them the

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opportunity to receive important government benefits. See CASA Decl. ¶¶ 24–29; ASAP Decl.

¶¶ 27–35. Finally, as the Supreme Court has recognized, declaratory and injunctive relief of the

type sought here do not require the individual participation of an organization’s members in the

lawsuit but instead are “properly resolved in a group context.” See Hunt, 432 U.S. at 344. Indeed,

this Court has previously recognized that both CASA and ASAP have standing to maintain

lawsuits on behalf of their members. Casa de Maryland, Inc. v. Wolf, 486 F. Supp. 3d 928, 947

(D. Md. 2020).

 II.    The Remaining Factors Weigh Decisively in Favor of Granting a TRO and PI

        The harm that Individual Plaintiffs, Members, and others across the country are suffering

as a result of the Executive Order is devastating and irreparable. The Executive Order is also

contrary to the public interest. Preliminary injunctive relief is not just appropriate, but necessary.

        A.     The Executive Order Is Causing Irreparable Harm.

        “Because there is a likely constitutional violation, the irreparable harm factor is satisfied.”

Leaders of a Beautiful Struggle v. Baltimore Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en

banc); see also Ross v. Meese, 818 F.2d 1132, 1135 (4th Cir. 1987) (noting that “the denial of a

constitutional right” itself “constitutes irreparable harm for purposes of equitable jurisdiction”).

That irreparable harm is especially pronounced here, where the ultra vires Executive Order will

rip away the promise of citizenship for countless babies and leave them without legal status. Loss

of citizenship represents “the total destruction of the individual’s status in organized society.”

Trop, 356 U.S. at 101 (plurality). It as “a form of punishment more primitive than torture, for it

destroys for the individual the political existence that was centuries in the development.” Id. A

baby denied citizenship has been denied “status in the national and international political


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community.” Id. Many such newborns will have no other citizenship options available, leaving

them stateless, with their “very existence” subjected to “the sufferance of the country in which

[they] happen[] to find [themselves].” Id. In short, these children have “lost the very right to have

rights.” Id. at 102; see also ASAP Decl. ¶¶ 29–31.

       Depriving children of their birthright citizenship and leaving them and their families in

legal limbo “is offensive to cardinal principles for which the Constitution stands.” Trop, 356 U.S.

at 102. It subjects Members “to a fate of ever-increasing fear and distress,” left in the dark about

“when and for what cause” their children’s “existence in [their] native land may be terminated.”

Id. They must contend with the constant threat that their children could be torn away from them

and deported, a separation that would “create not only temporary feelings of anxiety but also

lasting strains on the most basic human relationships cultivated through shared time and

experience.” Int’l Refugee Ass. Proj. v. Trump, 883 F.3d 233, 270 (4th Cir. 2018), vacated on other

grounds, 585 U.S. 1028 (2018). The looming threat of deportation and family separation created

by the Executive Order shapes Members’ choices about fundamental aspects of their lives and

deters them from doing what best serves their families. CASA Decl. ¶ 29.

       The lack of clarity in the Executive Order about the status of children born after the Order

takes effect and the uncertainty about how the Order will be implemented have engendered

widespread confusion and fear, which causes Members additional irreparable harm. Those who

are currently pregnant now face a world in which the citizenship status of their unborn children

has been thrown into doubt, undermining the plans they have made for those children and for their

families more broadly. ASAP Decl. ¶¶ 27–35; see also id. ¶ 44 (ASAP member Nohelimar

expressing her concerns about her son’s status if he is denied birthright citizenship). Some mothers,

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fearful about their child’s immigration status, may be driven by the Executive Order to induce

labor or schedule a cesarean section before the effective date, risk harm to their health and the

health of their baby. And many will lose the opportunity to apply for government benefits on behalf

of their newborn children—benefits on which they planned to rely to ensure their families received

necessary nutrition and healthcare. CASA Decl. ¶¶ 16–24; ASAP Decl. ¶ 34. The longer the Order

remains in effect, the more dramatic the impact on Individual Plaintiffs’ and Members’ lives,

forcing them to make irreversible choices about growing and caring for their families.

       B.      Enjoining the Executive Order Would Serve the Public Interest.

       The third and fourth preliminary injunction factors also weigh in favor of granting relief.

Where the government is a party, analysis of those factors—the balance of the equities and the

public interest—merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). As the Fourth Circuit has

consistently recognized, “upholding constitutional rights surely serves the public interest.” Centro

Tepeyac v. Montgomery County, 722 F.3d 184, 191 (4th Cir. 2013) (en banc) (quoting Giovani

Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)); see also Leaders of a Beautiful

Struggle, 2 F.4th at 346 (“[I]t is well-established that the public interest favors protecting

constitutional rights.”); Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011)

(“[U]pholding constitutional rights is in the public interest . . . .”). Indeed, “[if] anything,” our

government “is improved” when a court issues “a preliminary injunction which prevents the state

from enforcing restrictions likely to be found unconstitutional.” Leaders of a Beautiful Struggle,

2 F.4th at 346 (emphasis added).

       Moreover, while the harms caused by allowing the Executive Order to remain in effect will

be severe, the harms to the government if it is enjoined are virtually nonexistent. See Newsom ex


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rel. Newsom v. Albemarle Cnty. Sch. Bd., 354 F.3d 249, 261 (4th Cir. 2003) (recognizing that a

governmental entity “is in no way harmed by issuance of a preliminary injunction” that prevents

enforcement of a policy likely to be found unconstitutional). Granting preliminary relief will

merely preserve a status quo that is reflected across countless regulatory programs and has existed

throughout our Nation’s history. Compl. ¶¶ 98–99. It will avoid throwing families around the

country into chaos as they grapple with unanswerable questions about the status of their children

and families. And, in fact, an injunction will save the government billions of dollars per year by

avoiding the added bureaucratic costs that would be necessary to make citizenship determinations

through means other than birth certificates. Id. ¶ 99.

       The federal government has recognized birthright citizenship since the Founding, and it

will not be harmed by continuing to do so pending a final determination on the merits of this case.

That is especially true given that the Executive Order represents a drastic policy change

implemented without constitutional amendment or authorization from Congress, and it is in the

public interest to protect the “separation of powers by curtailing unlawful executive action.” Texas

v. United States, 809 F.3d 134, 187 (5th Cir. 2015), aff’d by an equally divided Court, 570 U.S.

547 (2016). Given the dramatic changes wrought by the Executive Order, the substantial changes

that would need to be made to a huge variety of complex federal and state programs in order to

implement it fully, and the immediate harm that the Executive Order inflicts on newborns and their

families, the public interest strongly favors an injunction. 3



3
  Because Defendants face no monetary cost from the preliminary injunction, because any
imposition of bond would work a severe hardship on Plaintiffs as nonprofit organizations, and
because the preliminary injunction serves the public interest, this Court should waive any security
requirement. See Fed. R. Civ. P. 65(c); Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013).
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                                       CONCLUSION

       This Court should grant Plaintiffs’ motion for a temporary restraining order and

preliminary injunction.



       Respectfully submitted this January 21, 2025,



                                               /s/Joseph W. Mead
Nicholas Katz, Esq. (D. Md. 21920)             Joseph W. Mead (D. Md. 22335)
CASA, INC.                                     Mary B. McCord (D. Md. 21998)
8151 15th Avenue                               Rupa Bhattacharyya*
Hyattsville, MD 20783                          William Powell*
240-491-5743                                   Alexandra Lichtenstein*
nkatz@wearecasa.org                            Gregory Briker*
                                               INSTITUTE FOR CONSTITUTIONAL ADVOCACY
Conchita Cruz*                                   AND PROTECTION
Zachary Manfredi*                              Georgetown University Law Center
Asylum Seeker Advocacy Project                 600 New Jersey Ave., N.W.
228 Park Ave. S., #84810                       Washington, D.C. 20001
New York, NY 10003-1502                        Phone: (202) 662-9765
(646) 600-9910                                 Fax: (202) 661-6730
conchita.cruz@asylumadvocacy.org               jm3468@georgetown.edu
zachary.manfredi@asylumadvocacy.org            mbm7@georgetown.edu
                                               rb1796@georgetown.edu
                                               whp25@georgetown.edu
                                               arl48@georgetown.edu
                                               gb954@georgetown.edu


                                               Attorneys for Plaintiffs



*Motion for admission pro hac vice forthcoming.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on January 21, 2025, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system. There is currently no Counsel of Record for Defendants.

I certify that I will serve the foregoing on Defendants.

       /s/ Joseph Mead
       Joseph Mead
